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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS




  DR. SHIVA AYYADURAI

                              Plaintiff,

                         v.
                                                     Civil Action No. 1:18-cv-11929-RGS
  THE UNIVERSITY OF MASSACHUSETTS,
  MARTY MEEHAN, in his official capacity as
  the President of the University of
  Massachusetts, and DAVID CASH, in his
  official capacity as Dean of the Graduate
  School of Policy and Global Studies at the
  University of Massachusetts Boston,

                              Defendants.



                         ASSENTED-TO MOTION TO
                   EXTEND RESPONSIVE PLEADING DUE DATE

      Based on the outcome of the October 3, 2018 hearing on the preliminary

injunction motion filed by plaintiff, Dr. Shiva Ayyadurai, defendants University of

Massachusetts, President Marty Meehan, and Dean David Cash (“University”)

respectfully request that the October 4, 2018 due date for their responsive pleading be

extended until a date subsequent to October 19, 2018.

      The University’s attorney will consult with Dr. Ayyadurai’s attorney on or about

October 19, 2018 in an effort to agree to a responsive pleading due date and, following



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that discussion, the University will then either move for or notify the Court of the

responsive pleading date.

                                                 Respectfully submitted,

Dated:        October 4, 2018                    UNIVERSITY DEFENDANTS
                                                 By their attorney,
                                                 __/s/ Denise Barton____________
                                                 Denise Barton, BBO No. 675245
                                                 Senior Litigation Counsel
                                                 University of Massachusetts
                                                 Office of the General Counsel
                                                 333 South Street, 4th Floor
                                                 Shrewsbury, MA 01545
                                                 Phone: 774-455-7300
                                                 dbarton@umassp.edu

ASSENTED TO BY:
DR. SHIVA AYYADURAI
By his attorney,

_/s/ Timothy Cornell____________
Timothy Cornell, BBO No. 654412
Cornell Dolan, P.C.
One International Place
Suite 1400
Boston, MA 02110
Phone: 617-535-7763
tcornell@cornelldolan.com

                                CERTIFICATE OF SERVICE

I certify that this document filed through the CM/ECF system on the above date will be
sent electronically to registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                 _/s/ Denise Barton___________
                                                 Denise Barton
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